
PER CURIAM.
Appellant, John Junior Watkins, was tried and found guilty of assault with in*796tent to rape. A motion for new trial was denied.
The State concedes that the evidence is completely insufficient to show that the appellant had the requisite intent to rape. The case is controlled by Rye v. State, 153 Fla. 559, 15 So.2d 255. It follows that the judgment must be, and it is hereby, reversed for further proceedings not inconsistent with law, and without prejudice to prosecution for violation of Section 800.04, Florida Statutes, 1953, F.S.A.
It is so ordered.
MATHEWS, C. J., and THOMAS,
■HOBSON and DREW, JJ., concur.
